                       Case 2:19-cv-00064-LGW-BWC Document 35 Filed 05/28/19 Page 1 of 1
          AO 456 (Rev. 5/85) Notice



                                      United States District Court
                                                Southern District of Georgia
           POPPELL et al


                                                                                                 NOTICE

                                           v.
           CARDINAL HEALTH, INC. et al
                                                                            CASE NUMBER:           CV219-64



          TYPE OF CASE:                         ✘ CIVIL                              CRIMINAL

            ✘     TAKE NOTICE that a proceeding in this case has been set for the place date, and time set forth below:

          PLACE                                                               ROOM NO.
                   Federal Courthouse                                                         Courtroom 1
                   801 Gloucester Street
                   Brunswick, GA                                              DATE AND TIME
                                                                                              06/04/2019 at 11:00 am
          TYPE OF PROCEEDING

           Motion Hearing




                  TAKE NOTICE that a proceeding in this case has been continued as indicated below:

          PLACE                                 DATE AND TIME PREVIOUSLY SCHEDULED               CONTINUED TO, DATE AND TIME




                                                                              Scott L. Poff
                                                                             U.S. MAGISTRATE JUDGE OR CLERK OF COURT


           05/28/2019                                                         s/ Whitney Sharp
          DATE                                                               (BY) DEPUTY CLERK

                                                                             Phone No. 912-658-6667
          To
                  All Counsel of Record
                  CSO's




GAS Rev 2/5/02
